          Case 3:22-cv-03267-MMC Document 15 Filed 07/18/22 Page 1 of 3



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 3
     Attorney for Plaintiff
 4

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 7
                                   UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9
                                        SAN FRANCISCO DIVISION
10

11                                                          Case No.: 3:22-cv-03267-MMC
     SALOOJAS, INC.,
12                                                          Hon. Maxine M. Chesney
            Plaintiff,
13

14          v.                                              STIPULATION TO SEAL DOCKET 1
                                                            UNDER HIPAA
15
     BLUE SHIELD OF CALIFORNIA LIFE &
16   HEALTH INSURANCE COMPANY
                                                            Complaint Filed:         June 3, 2022
17           Defendant.

18

19

20          Pursuant to Civil Local Rule 6-1(a), Plaintiff Saloojas, Inc (“Saloojas”) and Defendant
21   BLUE SHIELD OF CALIFORNIA LIFE & HEALTH INSURANCE COMPANY (“Blue Shield”)
22   by and through their respective counsel of record, stipulate as follows:
23          WHEREAS, Plaintiff served its Complaint on June 3, 2022;
24          WHEREAS, After service it was discovered that the exhibits on pages 20 through 24 of the
25   complaint contained the names and member identification numbers of five patients whose Protected
26   Health Information was required to be redacted pursuant to the Federal HIPAA law. The names had
27   been manually crossed out but on the original complaint before conversion to PDF form for filing
28
                                                        1
                                                                                STIPULATION TO SEAL D6CKET 1
                                                                                     Case No.: 3:22-cv-03267-MMC
          Case 3:22-cv-03267-MMC Document 15 Filed 07/18/22 Page 2 of 3




 1          WHEREAS after service of the Complaint Defendant discovered that the names could be

 2   read through thru the crossing out and so notified Plaintiff

 3          WHEREAS Plaintiff upon being notified that the names and member identification numbers

 4   were readable, immediately filed a Corrected Copy of the Complaint as Docket 14 wherein the

 5   names were whited out along with Member Identification numbers and further corrected was the

 6   reported total number of the pages from 37 to 38 and made no other changes to the Corrected Copy

 7          WHEREAS the docketing clerk notified Plaintiff that although the Corrected Copy is filed an

 8   order is still needed to seal DOCKET 1 so that the Protected Health Information protected under

 9   HIPAA cannot be accessed

10          WHEREAS, Plaintiff has requested, and Defendant has consented to stipulate, in lieu of

11   making a motion to seal to Docket 1, that Docket 1 can be sealed

12          NOW, THEREFORE, IT IS HEREBY STIPULATED pursuant to Civil Local Rule 6-

13   1(a), by and between the Parties, through their respective counsel, that Docket 1 filed in the action

14   can be sealed

15          IT IS SO STIPULATED.

16

17    DATED: July 18, 2022                                  MANATT, PHELPS & PHILLIPS, LLP

18
                                                            By:   / s / Justin Jones Rodriguez
19                                                                JUSTIN JONES RODRIGUEZ
20

21                                                          LAW OFFICE OF MICHAEL LYNN
      DATED: July 18, 2022                                  GABRIEL
22

23                                                          By: / s / Michael Lynn Gabriel
                                                                MICHAEL LYNN GABRIEL
24

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                                                        2
                                                                              STIPULATION TO SEAL D6CKET 1
                                                                                   Case No.: 3:22-cv-03267-MMC
          Case 3:22-cv-03267-MMC Document 15 Filed 07/18/22 Page 3 of 3




 1

 2                          PURSUANT TO STIPULATION, IT IS SO ORDERED.

 3

 4
                                                            __________________________________
 5    DATED: ___________, 2022                                UNITED STATES DISTRICT JUDGE
 6

 7

 8                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 9          Pursuant to Civil Local Rule 5-1(h)(3), the filer of this document attests that concurrence in
10   the filing of this document has been obtained from the signatories above.
11

12

13   DATED: July 18, 2022                                   /s/ MICHAEL LYNN GABRIEL
                                                               MICHAEL LYNN GABRIEL
14
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                                                            ATTORNEY FOR PLAINTIFF
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                                                                             STIPULATION TO SEAL D6CKET 1
                                                                                  Case No.: 3:22-cv-03267-MMC
